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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION

JANIAH MONROE, MARILYN MELENDEZ,                  )
LYDIA HELENA VISION,                              )
SORA KUYKENDALL, and SASHA REED,                  )
                                                  )
                Plaintiffs,                       )
                                                  )
        - vs-                                     )          No. 18-156-NJR
                                                  )
LATOYA HUGHES, MELVIN HINTON,                     )
and STEVEN BOWMAN,                                )
                                                  )
                Defendants.                       )

             DEFENDANTS’ RESPONSE TO CO-MONITOR UPDATED REPORT

   The Defendants, LATOYA HUGHES, MELVIN HINTON, and STEVEN BOWMAN (sued

in their official capacities as IDOC administrators), provide the following in response to portions

of the update filed by co-Monitor julie graham [Doc. 546]. Defendants are responding to the issues

presented with respect to Pinckneyville Correctional Center’s showers and complaints concerning

searches at Pinckneyville and Western Illinois Correctional Center:

   I.        Pinckneyville CC Showers

   Graham’s report relates that women do not feel safe in the showers at Pinckneyville

Correctional Center and that there have been complaints that the shower is not private.

Pinckneyville CC Warden David Mitchell has responded directly to co-Monitor graham in writing.

See attached Exhibit 1. The email includes photographs of the showers as well as a March 29,

2023, memorandum reiterating that transgender individuals are to shower privately and that no

individuals in custody (no workers/porters) are allowed out of their cells during the private shower

period. Ex. 1 at 7-9. This reiterated the prior memorandum that Mitchell issued. Attached as

Exhibit 2.



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    II.     Pinckneyville CC Searches/Harassment

    Warden Mitchell also included a response to graham’s inquiry as to searches and harassment.

Mitchell reiterated IDOC’s policy on searching transgender, intersex, and gender incongruent

individuals in custody. Ex. 1 at 11. He also provided the yearly memo sent to all staff reminding

staff of the need for professional communication. Ex. 1 at 10. Any report of staff misconduct is

sent directly to Internal Affairs for investigation. Ex. 1 at 6.

    III.    Western Illinois CC Search

    Graham’s report included a complaint of an individual being left shackled, standing with her

arms behind her back and without any food for six hours while waiting for a female staff member

to search her. Warden Greene of Western Illinois CC responded to julie graham’s inquiries. Exhibit

3 (filed under seal because it contains class member names). The facility reviewed footage from a

Tactical Operation that occurred, during which an individual in custody was placed in a shower

pending the arrival of a female staff member to search her. The video footage showed that the cuffs

on the individual were removed as soon as she was placed in the shower. Although the footage

showed a short delay waiting for a female staff member, it was not longer than the process for

other individuals who were removed from their cells for purposes of the search.

    The same individual who complained of the search is believed to be the prisoner who reported

being harassed by Western Illinois CC staff for wearing makeup and doing her hair in the hairstyle

she prefers. [Doc. 546, p. 3]. If it is the same individual as suspected, Warden Greene was informed

that other inmates had been making statements about how the individual was applying her makeup

and that staff were trying to discuss application techniques with her. This was not an attempt to

dissuade the individual from wearing makeup. There were issues with the same individual




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regarding her hairstyle, but only because she was using strings from mop heads as well as ripped

up clothing and sheets to add to her hair. The items were confiscated as unauthorized.

                                                    Respectfully submitted,

                                                    LATOYA HUGHES, MELVIN HINTON, and
                                                    STEVEN BOWMAN,
                                                            Defendants,
Lisa A. Cook, #6298233                              KWAME RAOUL, Attorney General
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION
JANIAH MONROE, MARILYN MELENDEZ,                    )
LYDIA HELENA VISION,                                )
SORA KUYKENDALL, and SASHA REED,                    )
                                                    )
               Plaintiffs,                          )
                                                    )
       - vs-                                        )          No. 18-156-NJR
                                                    )
ROB JEFFREYS, MELVIN HINTON,                        )
and STEVEN BOWMAN,                                  )
                                                    )
               Defendants.                          )

                                     CERTIFICATE OF SERVICE

     I hereby certify that on April 12, 2023, the foregoing document, Defendants’ Response to
Co-Monitor Updated Report, was electronically filed with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following:

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                                                        s/ Lisa A. Cook
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